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     8
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     9
    10                        UNITED STATES DISTRICT COURT
    11
               CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
    12
         IN RE: TOLL ROADS LITIGATION        Case No: 8:16-cv-00262 AG (JCGx)
    13
         ___________________________________
    14
         PENNY DAVIDI BORSUK; DAVID
    15   COULTER; EBRAHIM E. MAHDA;                      JOINT STATEMENT
    16   TODD QUARLES; TODD CARPENTER;                   INFORMING THE COURT OF
         LORI MYERS; DAN GOLKA; and                      SETTLMENT WITH THE TCA
    17   JAMES WATKINS on Behalf of                      DEFENDANTS AND BRIC-TPS,
    18   Themselves and All Others Similarly             LLC
         Situated,
    19
                     Plaintiffs,                         Date:     August 26, 2019
    20                                                   Time:     10:00 a.m.
               vs.
                                                         Judge:     Hon. Andrew J. Guilford
    21   FOOTHILL/EASTERN                                Courtroom: 10D
    22   TRANSPORTATION CORRIDOR
         AGENCY; SAN JOAQUIN HILLS                       Compl. Filed: October 2, 2015
    23   TRANSPORTATION CORRIDOR
    24   AGENCY; ORANGE COUNTY
         TRANSPORTATION AUTHORITY;
    25   3M COMPANY; BRiC-TPS LLC;
    26   RHONDA REARDON; MICHAEL
         KRAMAN; CRAIG YOUNG; SCOTT
    27   SCHOEFFEL; ROSS CHUN; DARRELL
    28   JOHNSON; LORI DONCHAK;
                                                  1
                 JOINT STATEMENT REGARDING TCA DEFENDANTS’ SETTLEMENT
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     1   COFIROUTE USA, LLC; and DOES 3-10,
     2   inclusive,

     3                Defendants.

     4
     5         Plaintiffs, on the one hand, and Foothill/Eastern Transportation Corridor
     6   Agency, San Joaquin Hills Transportation Corridor Agency, Michael Kraman, Craig
     7   Young, Scott Schoeffel, Ross Chun, and Rhonda Reardon (collectively the “TCA
     8   Defendants”), and BRiC-TPS, LLC (“BRiC”) on the other hand, hereby notify the
     9   Court that they have reached an agreement to settle all claims against the TCA
    10   Defendants and BRiC on a classwide basis. The settlement resolves only the claims
    11   against TCA Defendants and BRiC; it does not resolve any claims against the
    12   Orange County Transportation Authority Defendants and Cofiroute USA, LLC.
    13         Plaintiffs and the TCA Defendants have signed a written term sheet and are
    14   working to draft and execute a complete agreement and supporting documents,
    15   including settlement class notice, which require approval of the Boards for the TCA
    16   Defendants. When these projects are completed, Plaintiffs will file a motion with the
    17   Court seeking preliminary approval of the settlement and an order directing notice
    18   to be sent to the settlement class under Fed. R. Civ. P. 23(e)(1).
    19         Because of the settlement, Plaintiffs and the TCA Defendants, respectfully
    20   request that the Court continue those portions of the hearing scheduled for August
    21   26, 2019 concerning only TCA Defendants and BRiC. Plaintiffs also request that the
    22   hearing concerning the remaining defendants, Orange County Transportation
    23   Authority, Lori Donchak, Darrell Johnson, and Cofiroute USA, LLC, be continued
    24   so as not to interfere with the orderly and efficient resolution of pending settlements.
    25   TCA Defendants and BRiC take no position as to this request. If the hearing is not
    26   to be continued, the Court should exclude 3M, BRiC, and the TCA Defendants from
    27   any ruling on the pending Joint Defense Motion to Decide Key Questions (Dkt. 527)
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                 JOINT STATEMENT REGARDING TCA DEFENDANTS’ SETTLEMENT
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         and make it clear in any tentative and final opinion addressing the motion that the
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         ruling does not apply to 3M, BRiC, and the TCA Defendants.
     3
               Counsel for the TCA Defendants, BRiC and Plaintiffs will appear at the
     4
         August 26, 2019 hearing and be prepared to address the Court’s questions about the
     5
         settlement approval process, although we respectfully request leave to keep the
     6
         settlement terms confidential until they are presented to the Court in a preliminary-
     7
         approval motion.
     8
                                                       Respectfully submitted,
     9   Date: August 22, 2019                         COAST LAW GROUP LLP
    10                                                 HELEN I. ZELDES (220051)

    11                                                 By: /s/ Helen I. Zeldes
    12                                                 Helen I. Zeldes
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    17    Date: August 22, 2019                        LINDEMANN LAW FIRM, APC
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         Date: August 22, 2019                         CUNEO GILBERT & LADUCA LLP
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                                                       By: /s/ Michael J. Flannery
    27                                                 Michael J. Flannery
    28                                                 mflannery@cuneolaw.com
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                 JOINT STATEMENT REGARDING TCA DEFENDANTS’ SETTLEMENT
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                                          BENJAMIN Z. RUBIN
     7                                    ASHLEY J. REMILLARD
     8                                    By:/s/ Benjamin Z. Rubin
     9                                           Benjamin Z. Rubin

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                                          FOOTHILL/EASTERN
    11                                    TRANSPORTATION CORRIDOR
                                          AGENCY, SAN JOAQUIN HILLS
    12                                    TRANSPORTATION CORRIDOR
    13                                    AGENCY; RHONDA REARDON;
                                          MICHAEL KRAMAN; CRAIG YOUNG;
    14                                    SCOTT SCHOEFFEL; AND ROSS CHUN
    15
    16    Date:    August 22, 2019        AKIN GUMP STRAUSS HAUER & FELD
                                          LLP
    17
    18
                                          By:/s/ Hyongsoon Kim
    19                                           Anthony T. Pierce (Pro Hac Pending)
    20                                           Hyongsoon Kim

    21                                    Attorneys for Defendants
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                                          AGENCY, SAN JOAQUIN HILLS
    23                                    TRANSPORTATION CORRIDOR
    24                                    AGENCY; RHONDA REARDON;
                                          MICHAEL KRAMAN; CRAIG YOUNG;
    25                                    SCOTT SCHOEFFEL; AND ROSS CHUN
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                  JOINT STATEMENT REGARDING TCA DEFENDANTS’ SETTLEMENT
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     1    Date:    August 22, 2019        ROPERS, MAJESKI, KOHN & BENTLEY
                                          STEPHEN J. ERIGERO
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                                          By:/s/ Timothy J. Lepore
     4
                                                 Timothy J. Lepore
     5
                                          Attorneys for Defendant
     6                                    BRIC-TPS LLC
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                  JOINT STATEMENT REGARDING TCA DEFENDANTS’ SETTLEMENT
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     1
                                 SIGNATURE CERTIFICATION
     2
               Pursuant to U.S. District Court for the Central District of California Local
     3
         Rule 5-4.3.4(a)(2)(i), I hereby attest and certify that the content of this document is
     4
         acceptable all counsel listed above, and that I have obtained said counsels’
     5
         authorization to affix their electronic signature to this document.
     6
     7                                                           /s/ Blake J. Lindemann
                                                                  BLAKE J. LINDEMANN
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                 JOINT STATEMENT REGARDING TCA DEFENDANTS’ SETTLEMENT
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     1                                 PROOF OF SERVICE
     2
                I, the undersigned, declare: I am employed in the County of Los Angeles,
     3   State of California. I am over the age of 18 and not a party to the within action; my
     4   business address is 433 N. Camden Drive, 4th Floor, Beverly Hills, CA 90210.

     5         On August 22, 2019, I served the foregoing document as follows:
     6
          JOINT STATEMENT INFORMING THE COURT OF SETTLMENT WITH
     7    THE TCA DEFENDANTS AND BRIC TPS, LLC
     8
               [X] by electronically filing the foregoing with the Clerk of the Court using the
     9   CM/ECF system which will send notification of such electronic filing to counsel of
    10   record for all parties by operation of the Court’s CM/ECF System.
    11          [ ] by U.S. Mail in the ordinary course of business to the non-CM/ECF
    12   participants indicated on the attached Manual Notice List. I am readily familiar with
         the Firm’s practice for the collection and processing of correspondence for mailing
    13   with the Postal Service and that the correspondence would be deposited with same
    14   that same day in the ordinary course of business.
    15        I declare under penalty of perjury under the laws of the United States of
    16   America and the State of California that the above is true and correct. Executed on
         August 22, 2019, at Beverly Hills, California.
    17
    18                                          /s/ Blake J. Lindemann
                                                _______________________________
    19                                           BLAKE J. LINDEMANN
    20
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                                         PROOF OF SERVICE
